             Case 2:17-cv-00694-MPK Document 1 Filed 05/30/17 Page 1 of 6



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA
 DEBRA DIEHL,                                        : CIVIL ACTION
                                                     :
                        Plaintiff,                   : No.
 v.                                                  :
                                                     : JURY TRIAL DEMANDED
 QUALITY LIFE SERVICES                               :
                                                     :
                                                     :
                      Defendant.                     :


                                              COMPLAINT
           Plaintiff Debra Diehl (“Diehl”) by and through her attorneys, Kraemer, Manes &

Associates, LLC, Kayla Drum, Esq. hereby files this Complaint against Defendant, and in support

avers as follows:

                                          I. Nature of the Action

      1.           Plaintiff brings this Complaint to recover damages under the Americans with

           Disabilities Act (ADA), 42 U.S.C. § 12101, and Disability Discrimination under

           Pennsylvania Human Relations Act (PHRA) Title 43 P.S. § 955. Plaintiff was terminated

           due to her disability.

                                        II. Jurisdiction and Venue

      2.           This action arises under The Americans with Disabilities Act (ADA), 42 U.S.C. §

           12101 This Court has jurisdiction over Plaintiff’s retaliation claim pursuant to 28 U.S.C. §

           1331.

      3.           Plaintiff is a resident and citizen of Pennsylvania, a substantial part of the events or

           omissions giving rise to the claims occurred in Western Pennsylvania, and, therefore, this




                                                      1
       Case 2:17-cv-00694-MPK Document 1 Filed 05/30/17 Page 2 of 6



     action is within the jurisdiction of the United States District Court for the Western District

     of Pennsylvania and the venue is proper pursuant to 28 U.S.C. § 1391(b).

4.            Plaintiff filed a charge with the Equal Employment Opportunity Commission

     (EEOC), which issued her a right to sue letter on March 14, 2017.

                                          PARTIES

5. Plaintiff Debra Diehl, an adult female individual, currently resides at 129 Alexander Dr.,

     Irwin, PA 15642.

6. Defendant Quality Life Services is a business located at 612 North Main St., Butler, PA

     16001 and employed Diehl at all times relevant hereto.

                                           FACTS

7. Diehl began working for Defendant on or about April 3, 2012 as a Clinical Reimbursement

     Specialist.

8. Diehl is disabled in that she suffers from hearing loss since 2007.

9. On November 10, 2015 Diehl felt a “pop” in her right ear and was unable to hear out of

     her right ear. Diehl’s doctor diagnosed her with an ear infection.

10. Diehl’s hearing decreased and she continues to suffer from hearing loss.

11. In addition to the hearing loss, Diehl also suffers from sleep apnea.

12. Defendant was aware of Diehl’s disabilities.

13. Diehl’s sleep apnea did not affect her work or performance.

14. Diehl’s immediate supervisor, David Ferraro wanted Diehl to complete a sleep study.

15. Diehl was unable to complete a sleep study as she was nursing her daughter at the time and

     the sleep center could not accommodate her.


                                               2
      Case 2:17-cv-00694-MPK Document 1 Filed 05/30/17 Page 3 of 6



16. Diehl returned from maternity leave in January 2015.

17. On February 10, 2016, Diehl met with Mr. Ferraro and Mr. Ferraro stated that Diehl had

   been accused of “listening in at people’s office doors” and “going into other people’s

   officers to look around.”

18. Diehl stated that due to her hearing loss, she sometimes must lean in to hear if anyone is in

   an office or to be able to hear them say “come in.”

19. Mr. Ferraro informed Diehl she was suspended from work pending an investigation into

   the accusations.

20. On February 12, 2016 Mr. Ferraro contacted Diehl and asked her to report to work on

   February 15th for a meeting with him.

21. On February 15th Mr. Ferraro told Diehl that they were “making changes in the department”

   and that he had a separation agreement for Diehl to sign.

22. Diehl again informed Mr. Ferraro that it would be impossible for Diehl to have done what

   she was accused of due to her disability.

23. Mr. Ferraro told Diehl to clean out her desk and leave the office.

                                     COUNT I
               American with Disabilities Act (ADA), 42 U.S.C. § 12101
                        DISABILITY DISCRIMINATION

24. All preceding paragraphs are hereby incorporated, as if specifically averred herein.

25. The statute prohibits discrimination against employees with physical impairments, and

   imposes an obligation on employers to make reasonable accommodations for individuals

   with disabilities. The statute also protects employees from coercion, intimidation, threats,

   harassment, or interference with exercising their rights granted by the ADA.

26. Diehl suffers from hearing loss.


                                               3
         Case 2:17-cv-00694-MPK Document 1 Filed 05/30/17 Page 4 of 6



   27. Diehl was suspended pending investigation into accusations that she was “listening in” at

       other workers’ office doors.

   28. Diehl was terminated due to her disability.

       WHEREFORE, Plaintiff respectfully requests this Court enter judgment in his favor, and

award the following damages against Defendants:

          (A) Injunctive and declaratory relief;

          (B) Loss of back wages;

          (C) Loss of future wages;

          (D) Punitive damages;

          (E) Attorney’s fees and costs;

          (F)   Pre-judgment and continuing interest; and

          (G) Other such relief as the Court may deem just and proper

                                     COUNT II
                  Pennsylvania Human Relations Act (PHRA), Title 43 P.S. § 955
                               DISABILITY DISCRIMINATION


   29. All preceding paragraphs are hereby incorporated, as if specifically averred herein.

   30. The statute prohibits discrimination against employees with physical impairments, and

       imposes an obligation on employers to make reasonable accommodations for individuals

       with disabilities. The statute also protects employees from coercion, intimidation, threats,

       harassment, or interference with exercising their rights granted by the PHRA.

   31. Diehl suffers from hearing loss.

   32. Diehl was suspended pending investigation into accusations that she was “listening in” at

       other workers’ office doors.


                                                4
          Case 2:17-cv-00694-MPK Document 1 Filed 05/30/17 Page 5 of 6



   33. Diehl was terminated due to her disability.

       WHEREFORE, Plaintiff respectfully requests this Court enter judgment in his favor, and

award the following damages against Defendants:

           (H) Injunctive and declaratory relief;

           (I)   Loss of back wages;

           (J)   Loss of future wages;

           (K) Punitive damages;

           (L) Attorney’s fees and costs;

           (M) Pre-judgment and continuing interest; and

           (N) Other such relief as the Court may deem just and proper

       WHEREFORE, Plaintiff, Debra Diehl respectfully requests that this Honorable Court

enter judgment in his favor and against that of Defendant Quality Life Services and grant

Plaintiff the following damages: back pay, front pay as appropriate, compensatory and punitive

damages, cost of suit, attorney’s fees and any other relief as the court may deem necessary.

   JURY TRIAL DEMANDED



                                                                       Respectfully Submitted,




                                                                               Kayla Drum, Esq.
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                                                5
Case 2:17-cv-00694-MPK Document 1 Filed 05/30/17 Page 6 of 6



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                             6
